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            UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF MICHIGAN
                 SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

              Plaintiff,

                    Case No. 24-cr-20668
                    Hon. MATTHEW F. LEITMAN
  vs.

  DOVID AKIVA SHENKMAN,

                   Defendant.
  _______________________________________/
  TARA HINDELANG
  DOJ-USAO
  211 W. Fort Street, Ste 2001
  Detroit, MI 48226
  313-410-5177
  Email: tara.hindelang@usdoj.gov

  SANFORD A. SCHULMAN
  Attorney for Defendant:
        DOVID AKIVA SHENKMAN
  500 Griswold Street, Suite 2340
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  (313) 963-4740
  saschulman@comcast.net
  _______________________________________/

    DEFENDANT DOVID AKIVA SHENKMAN’S MOTION TO SET
      ASIDE AND REVOKE THE OF ORDER OF DETENTION
              WITH A REQUEST FOR HEARING




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        NOW COMES the Defendant, DOVID AKIVA SHENKMAN

  (“Defendant”), by and through his attorney, SANFORD A.

  SCHULMAN and moves this Honorable Court, pursuant to 18 U.S.C.

  §3145(b), to revoke the Order of Detention, and schedule a hearing

  for the following reasons:

        1.    Defendant was originally charged by way of a Complaint

  and later an Amended Criminal Complaint charging Transportation of

  Child Pornography in violation of 18 USC Sec. 2252A(a)(1) and

  Possession of Child Pornography in violation of 18 USC Sec.

  2252A(a)(5)(B). (R. 9, Amended Complaint, PgID 9-19).

        A detention hearing was held and the defendant, DOVID

  AKIVA SHENKMAN was ordered detained by the magistrate. An

  indictment was filed on December 4, 2024 charging in with the same

  counts as set forth in the Amended Complaint (R. 14, Indictment,

  PgID 26-29)

        2.    Defendant is currently detained in the Midland County

  Jail after making an initial appearance on November 25, 2024.

        3. Dovid Akiva Shenkman (“Akiva”) is a US Citizen born in

  Detroit, Michigan who is 39 year old living in a verified residence on

  East 18th Street in Brookly, New York where he has resided for

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  seven years. His entire immediate family is in the Detroit area and he

  has other family members who reside in the Detroit area. Pretrial

  services did verify the family ties and spoke with his brother Yisroel

  Shenkman, but it had not yet been “vetted by Pretrial Services.” Any

  concerns pretrial services has can be alleviated by verification of

  residence, family ties, proof of employment, surrender of passport

  and a recommendation for house arrest and tether.

        There are a number of family members who are willing to serve

  as third-party custodians, including his brother and others who can

  be verified and are upstanding citizens in the community who will

  comply with all terms and conditions set by this Court and ensure

  that Mr. Shenkman does the same.

        A number of family members including his brother and mother

  have expressed their willingness to serve as third-party custodians.

        4. Akiva is self-employed with ADS Cooling and Heating in

  New York and has had stable employment for more than 10 years.

        5.   The defendant does not have any criminal history,

  significant mental health issues or substance abuse problems.

        6.    The pending case is a non-assaultive offense and does

  not involve any allegations that Akiva has had any physical contact

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  with any minors or even any video or phone or text messages with

  minors that were inappropriate. The defendant is presumed

  innocent.

        7.    Defendant has no history of mental illness. A third-party

  custodian will agree to place a surety with the Court and also allow

  him to reside at their residence during the pendency of this case.

  Defendant is also a good candidate for tether or home confinement.

        8.    Defendant is not a threat to the community.

        9.    This Court has the authority, pursuant to 18 U.S.C. §

  3145(b), to review the previous order of detention.

        10.   Pursuant to Title 18 U.S.C. 3142(e) there are conditions

  or combination of conditions for release for the instant offense.

  Defense would also submit that the Government has failed to

  present sufficient evidence that Defendant is a substantial threat to

  the community, a flight risk and that counsel for Defendant has

  presented evidence justifying this Court setting a reasonable bond

  with conditions under 18 U.S.C. § 3142(f).

        11.   There are conditions of release which will assure the

  Court of Defendant’s appearance at future court appearances as

  stated in 18 U.S.C. §3142(c).

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        12.   Defense counsel is requesting that a hearing be

  scheduled as expeditiously as possible. Concurrence was sought

  and Assistant U.S. Attorney Tara Hindelang does not concur in the

  relief requested.

        WHEREFORE, the Defendant, DOVID AKIVA SHENKMAN,

  respectfully requests that this Court hold a hearing, revoke the Order

  of Detention and enter an Order releasing him on a tether with home

  confinement, or in the alternative, to third-party custody who are

  prepared to act as third-party custodian.

                      Respectfully submitted,


                      /s/ Sanford A. Schulman
                      SANFORD A. SCHULMAN
                      Attorney for Defendant
                            DOVID AKIVA SHENKMAN
                      500 Griswold Street, Suite 2340
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                      saschulman@comcast.net

  Date: December 9, 2024




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            UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF MICHIGAN
                 SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

              Plaintiff,

                    Case No. 24-cr-20668
                    Hon. MATTHEW F. LEITMAN
  vs.

  DOVID AKIVA SHENKMAN,

                   Defendant.
  _______________________________________/
  TARA HINDELANG
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  SANFORD A. SCHULMAN
  Attorney for Defendant:
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    DEFENDANT DOVID AKIVA SHENKMAN’S MOTION TO SET
      ASIDE AND REVOKE THE OF ORDER OF DETENTION
              WITH A REQUEST FOR HEARING




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        Defendant, DOVID AKIVA SHENKMAN (“Defendant”), by and

  through his attorney, SANFORD A. SCHULMAN moves this Court,

  pursuant to 18 U.S.C. §3145(b), to revoke the prior Order of

  Detention in this matter and schedule a hearing on this issue for the

  following reasons:

                        STATEMENT OF FACTS

        Defendant was originally charged by way of a Complaint and

  later an Amended Criminal Complaint charging Transportation of

  Child Pornography in violation of 18 USC Sec. 2252A(a)(1) and

  Possession of Child Pornography in violation of 18 USC Sec.

  2252A(a)(5)(B). (R. 9, Amended Complaint, PgID 9-19).

        A detention hearing was held and the defendant, DOVID

  AKIVA SHENKMAN was ordered detained by the magistrate. An

  indictment was filed on December 4, 2024 charging in with the same

  counts as set forth in the Amended Complaint (R. 14, Indictment,

  PgID 26-29)

        Defendant is currently detained in the Midland County Jail after

  making an initial appearance on November 25, 2024.




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         Dovid Akiva Shenkman (“Akiva”) is a US Citizen born in

  Detroit, Michigan who is 39-year-old living in a verified residence on

  East 18th Street in Brookly, New York where he has resided for

  seven years. His entire immediate family is in the New York area but

  they have a long family history in the Detroit area and have many

  friends and former neighbors who still reside in the Detroit area.

  Indeed, as far back as the defendant’s grandparents resided in the

  Detroit area.

        While it appears pretrial did not initially recommend bond,

  pretrial spoke with his brother Yisroel Shenkman but it had not yet

  been “vetted by Pretrial Services.” The information provided by

  Yisroel Shenkman can be verified and any other concerns pretrial

  has can likewise be addressed. It is not clear on what basis pretrial

  did not recommend bond. However, this Court can impose

  additional conditions including an electronic tether and the transfer of

  pretrial to New York as well as home confinement and other

  standard conditions including the prohibition of computers, etc.

        There are a number of family members who are willing to serve

  as third-party custodians including his brother and others who can be

  verified and are upstanding citizens in the community who will

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  comply with all terms and conditions set by this Court and ensure

  that Mr. Shenkman does the same.

        Akiva is self-employed with ADS Cooling and Heating in New

  York and has had stable employment for more than 10 years. The

  defendant does not have any criminal history, significant mental

  heath issues or substance abuse problems.

        The pending case is a non-assaultive offense and does not

  involve any allegations that Akiva has had any physical contact with

  any minors or even any video or phone or text messages with minors

  that were inappropriate. The defendant is presumed innocent.

        Defendant has no history of mental illness. A third-party

  custodian will agree to place a surety with the Court and also allow

  him to reside at their residence during the pendency of this case.

  Defendant is also a good candidate for tether or home confinement.

        This case does not involve a charge that presumes bond

  should not be granted. Defendant is not a threat to the community

  and is not a flight risk.




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         This Court has the authority, pursuant to 18 U.S.C. § 3145(b),

   to review the previous order of detention. Pursuant to Title 18

   U.S.C. 3142(e) there are conditions or combination of conditions for

   release for the instant offenses. Counsel for Defendant would

   submit that the Government has failed to present sufficient evidence

   that Defendant is either a threat to the community or a flight risk, that

   this presumption has been overcome and that a bond should issue.

                                  ARGUMENT

         18 U.S.C. § 3148(b)(1) sets forth the standard for revocation of

   release. The Court can revoke Defendant’s bond if there is (A)

   probable cause to believe that Defendant has committed a federal,

   state, or local crime while on release; or (B) clear and convincing

   evidence that Defendant has violated a condition of his release and

   that he is unlikely to abide by any condition or combination of

   conditions of release.

         The Bail Reform Act, 18 U.S.C. § 3142, requires that a

   defendant be released pending trial unless there are no conditions

   that will reasonably assure the appearance of the person at future

   court proceedings and the safety of the community. See 18 U.S.C. §

   3142(e). A court may, however, order detention of the defendant if

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   the court finds that no set of conditions will reasonably assure the

   appearance of the person and the safety of the community. See 18

   U.S.C. § 3142(f).

        Defendant poses neither a danger to the community, nor is he

   a risk of flight under 18 U.S.C. § 3142(f). He has family in New York

   area who are willing to put up any property as surety. Consequently,

   there are conditions of release which will assure the court of

   Defendant’s appearance at future court appearances and the safety

   of the community, as stated in 18 U.S.C. §3142(c).

   THE PENDING CASE IS NOT A PRESUMPTIVE CASE,

   DOES NOT ALLEGE ANY ACTS OF VIOLENCE.

   II. STANDARD OF REVIEW

        Title 18 U.S.C. § 3145(c) provides that review of the detention

   order upon motion of the defendant “be determined promptly”. On

   such an appeal, the District Court will conduct a de novo review of

   the bond issue. United States v. Hazime, 762 F.2d 34 (6th Cir.

   1985). In Hazime, the Sixth Circuit explained:

        This court does not conduct evidentiary hearings and hear

   witnesses, and we will not disturb the factual findings of the District

   Court and magistrate in pretrial hearings unless we determine those

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   findings to be clearly erroneous. Our standard in reviewing mixed

   questions of law and fact and the legal conclusions of District Court,

   however, remains that of de novo consideration... Id. at 37.

         The district court must ultimately decide the issue of detention

   without deference to the magistrate judge’s conclusion. United

   States v. Koenig, 912 F.2d 1190, 1192 (9th Cir. 1990). The district

   court should conduct a de novo review of the findings of fact

   underlying the initial detention Order. United States v. Delker, 757

   F.2d 1390, 1394 (3d Cir. 1985); United States v. Maull, 773 F.2d

   1479, 1481 (5th Cir. 1985); United States v. Yamini, 91 F. Supp. 2nd

   1125 (S.D. Ohio 2000).

         Title 18 U.S.C. §3142(e) provides that detention is appropriate

   only where the court finds that no condition or combination of

   conditions reasonably ensure the appearance of the person as

   required and the safety of any other person or the community. This

   section is based on the understanding “that in our society, liberty is

   the norm and detention prior to trial, or without trial, is the carefully

   limited exception.” United States v. Bell, 673 F. Supp. 1429, 1430

   (E.D. Mich. 1987), citing United States v. Salerno, 107 S.Ct. 2095

   (1987).

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        Congress envisioned the pretrial detention of only a fraction of

   accused individuals awaiting trial. United States v. Orta, 760 F.2d

   887, 891 (8th Cir. 1985). The structure of the statute mandates

   every form of release be considered before detention may be

   imposed. Id. at 892. Detention determinations must be made

   individually and, in the final analysis, must be based on the evidence

   which is before the court regarding the particular defendant. United

   States v. Tortora, 922 F.2d 880, 887 (1st Cir. 1990).

        This Court has the authority, pursuant to 18 U.S.C. § 3145(b),

   to review the previous order of detention.

        Title 18 U.S.C. 3142(e) states that, subject to rebuttal, it is

   presumed that there are no conditions or combination of conditions

   for release for the instant offenses. This is not a presumptive case,

   however. Nevertheless, the defense would submit that the

   Government has failed nevertheless to present sufficient evidence

   that Defendant is either a threat to the community or a flight risk and

   that this presumption has been overcome and that a bond should

   issue. 18 U.S.C. § 3142(f).




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         There are conditions of release which will assure the court of

   Defendant’s appearance at future court appearances and the safety

   of the community, as stated in 18 U.S.C. §3142(c).

   III. ALTERNATIVES TO INCARCERATION

   1. Release on Conditions

         Defendant should be granted release on conditions under 18

   U.S.C. §3142(c) because there are conditions of release that will

   ensure that he does not pose a danger to the community and these

   conditions will sufficiently ensure his appearance at future court

   proceedings.

         18 U.S.C. § 3142(c) provides for release on conditions. The

   section provides:

         (1) If the judicial officer determines that the release described

   in subsection (b) of this section will not reasonably assure the

   appearance of the person as required or will endanger the safety of

   any other person or the community, such judicial officer shall order

   the pretrial release of the person –

   (A)   subject to the condition that the person not commit a Federal,

   State, or local crime during the period of release; and (B) subject to

   the least restrictive further condition, or combination of conditions,

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   that such judicial officer determines will reasonably assure the

   appearance of the person as required and the safety of any other

   person and the community, which may include the condition that the

   person –

   (i)   remain in the custody of a designated person, who agrees to

   assume supervision and to report any violation of a release condition

   to the court. (iv) abide by specified restrictions on personal

   association, place of abode, or travel; (vi) report on a regular

   basis to a designated law enforcement agency, pretrial services

   agency, or other agency; (vii) comply with a specified curfew; (viii)

   refrain from possessing a firearm, destructive device, or other

   dangerous weapon; (ix) refrain from excessive use of alcohol, or

   any use of a narcotic drug or other controlled substance; (xi) execute

   a bail bond with solvent sureties in such amount as is reasonably

   necessary to assure appearance of the person as required...

   18 U.S.C. §3142(c) (emphasis added).

         Defendant is not a flight risk and is presumed to be innocent.

   Counsel for Defendant is recommending that Defendant be released

   on a tether with home confinement.



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         The electronic monitoring program enables a defendant to

   remain at home while allowing Pretrial Services to accurately monitor

   his movement. This program stems from the Bail Reform Act’s

   mandate that “if the judicial officer determines that release described

   in subsection (b) of this section [release on personal recognizance]

   will not reasonably assure the appearance of the person as required

   ... such judicial officer shall order the pretrial release of the person -

   subject to the least restrictive further conditions or combination of

   conditions that such judicial officer determines will reasonably assure

   the appearance of the person as required.” 18 U.S.C. §3142

   (emphasis added). The tether program requires a defendant to wear

   an electronic monitor and be available to call or accept calls from

   Pretrial Services for the duration of his home confinement. The

   program also requires a “tethered” defendant to have a local phone

   number, have a state residence, and not have a cordless phone or

   answering machine (both of which interfere with the necessary

   electronic hook-up).

         Defendant will reside in the New York area (Brooklyn) and will

   comply with all terms and conditions imposed by the Court. Attached



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   are a number of letters from various members of his family and

   friends who know Akiva and can attest to his character.

        The undersigned defense counsel pursuant to local rule 7.1

   (LR 7.1) sought concurrence with the motion and the relief requested

   in the Motion to Revoke the Order of Detention from the lead

   attorney Assistant US Attorney Tara Hindelang and that there was a

   conference between attorneys in which the movant explained the

   nature of the motion or request and its legal basis and was apprised

   that the Government opposed the relief requested.

        WHEREFORE, the Defendant, DOVID AKIVA SHENKMAN,

   respectfully requests that this Court hold a hearing, revoke the Order

   of Detention and enter an Order releasing him on a tether with home

   confinement, or in the alternative, to third-party custody who are

   prepared to act as third-party custodian.

                    Respectfully submitted,

                 /s/ Sanford A. Schulman
                 SANFORD A. SCHULMAN
                 Attorney for Defendant
                       DOVID AKIVA SHENKMAN
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   Date: December 11, 2024
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